         Case 1:19-cv-00094-TJK Document 10 Filed 03/26/19 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 ________________________________
                                            )
 OLUWAFEMI SAMUEL SHODIPE,                  )
                                            )
        Plaintiff,                          )
                                            )
            v.                              )
                                            ) Civil Action No. 1:19-cv-00094-TJK
 KIRSTJEN M. NIELSEN, Secretary,            )
 U.S. Department of Homeland                )
 Security, et al.,                          )
                                            )
        Defendants.                         )
 ________________________________           )




                            NOTICE OF VOLUNTARY DISMISSAL


TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff hereby files this Notice of
Voluntary Dismissal, noting that none of the Defendants named in this matter have served an
answer or motion for summary judgment.




                                                    Respectfully submitted,



                                                    /s/Brian S. Green_______________
                                                    U.S. District Court Bar #MD0013
                                                    Law Office of Brian Green
                                                    5110 Echo Street
                                                    Los Angeles, CA 9042
                                                    (443) 799-4225
                                                    Fax (323) 285-0056
                                                    BrianGreen@greenusimmigration.com
